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                                        ORDERED.

     Dated: July 18, 2019




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

In re:

BRIAN J. GALLIMORE,                                    BANKRUPTCY CASE
                                                       NO.: 6:19-bk-01454-CCJ
      Debtor.
_________________________/

ORDER APPROVING TRUSTEE'S APPLICATION TO EMPLOY SPECIAL COUNSEL

         THIS MATTER came on for consideration upon Trustee's Application to Employ Special

Counsel (Doc. No. 11
                  __, the "Application"). This Court finds that proposed counsel does not hold

or represent an interest adverse to the estate and is disinterested. Accordingly, it is

         ORDERED the Court hereby approves the employment of Gus M. Centrone of

Centrone & Shrader, PLLC and its Attorneys as special counsel to the Trustee in this bankruptcy

case. No payment shall be made to counsel until authorized by further order of this Court, with

counsel’s fees and expenses, together with their payment, subject to further review by this Court

upon application. Compensation will be determined later in accordance with 11 U.S.C. Section

330. The attorney’s hourly rate is not guaranteed and is subject to review.


Arvind Mahendru c/o Centrone & Shrader, PLLC, is directed to serve a copy of this order on
interested parties and file a proof of service within 3 days of entry of the order.
